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                      Exhibit 20
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Regular Article

Assessment of the impact of rivaroxaban on coagulation assays: Laboratory
recommendations for the monitoring of rivaroxaban and review of the literature
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a r t i c l e           i n f o                          a b s t r a c t

Article history:                                         Introduction: Rivaroxaban does not require monitoring nor frequent dose adjustment. However, searching for
Received 26 July 2012                                    the optimal dose in the individual patient may be useful in some situations.
Received in revised form 23 August 2012                  Aim: To determine which coagulation assay could be used to assess the impact of rivaroxaban on haemostasis
Accepted 3 September 2012                                and provide guidelines for the interpretation of routine lab tests.
Available online xxxx
                                                         Materials: Rivaroxaban was spiked at concentrations ranging from 11 to 1090 ng/mL in plateletpoor plasma.
                                                         A large panel of coagulation assays was tested.
                                                         Results: A concentration dependent prolongation of aPTT, PT, dPT, PiCT was observed. PT and dPT were the
                                                         most sensitive chronometric assays but results varied depending on the reagent (Triniclot PT Excel
                                                         S > Recombiplastin 2 G > Neoplastin R > Neoplastin CI+ > Triniclot PT Excel > Triniclot PT HTF > Innovin).
                                                         FXa chromogenic assays showed the highest sensitivity. In TGA, Cmax was the most sensitive parameter
                                                         with the tissue factor induced pathway. Rivaroxaban interferes on haemostasis diagnostic tests such the
                                                         measurement of clotting factors, ﬁbrinogen, antithrombin, proteins C and S, activated protein-C resistance
                                                         and Xa-based chomogenic assays.
                                                         Conclusions: PT may be used as screening test to assess the risk of bleedings. A more speciﬁc and sensitive
                                                         assay such as Biophen DiXaI using calibrators should be used to conﬁrm the concentration of rivaroxaban.
                                                         We also propose cut-off associated with a bleeding or thrombosis risk based on pharmacokinetic studies.
                                                         Standardization of the time between the last intake of rivaroxaban and the sampling is mandatory.
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Introduction                                                                                in the orthopaedic indications [7]. In patients with non-valvular AF,
                                                                                            rivaroxaban was non-inferior to warfarin for the prevention of
    Rivaroxaban (Xarelto®) is a direct, antithrombin independent                            stroke or systemic embolism and showed a similar rate of major
and orally active FXa inhibitor that inhibits not only free FXa but                         bleeding [8]. The net clinical beneﬁt of rivaroxaban, and other
also the prothrombinase complex and clot bound FXa [1]. It is ap-                           NOACs, versus warfarin in patients with high risk of bleeding and
proved by the European Medicine Agency (EMA) [2] and the Food                               stroke, suggests a wider use of these compounds in the near future
and Drug Administration (FDA) [3] for the prevention of thrombo-                            [9].
embolism in total hip replacement (THR) or total knee replacement                               The absolute bioavailability of rivaroxaban is high (80%– 100%).
(TKR) and to prevent stroke in patients with non-valvular atrial ﬁ-                         In patients undergoing total hip replacement receiving Xarelto®
brillation (AF). The treatment of acute deep-vein thrombosis (DVT)                          10 mg qd, median Cmax reaches 125 μg/mL (5th – 95th percentile:
is an additional indication approved by the EMA [4]. It was also eval-                      91 – 196 μg/mL) and median Ctrough was 9 μg/mL (5th – 95th percen-
uated for secondary prevention after acute coronary syndrome [5]                            tile: 1 – 38 μg/mL) [10]. At the dose of 20 mg od in stroke prevention
and for thromboprophylaxis in acutely ill medical patients [6].                             in a simulated population of patients with non-valvular atrial ﬁbril-
Rivaroxaban was found statistically superior to enoxaparin (versus                          lation, rivaroxaban has a Cmax of approximately 290 μg/L (5th –
both European and North American regimen) in prevention of ve-                              95th percentile ≈ 177 – 409 ng/mL) and a Ctrough of approximately
nous thromboembolism (VTE) and equivalent in term of bleedings                              32 μg/L (5th – 95th percentile ≈ 5 – 155 ng/mL) [11]. Similar drug
                                                                                            levels were found in patients receiving rivaroxaban 20 mg od for
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                                                                                            the treatment of DVT [11].
      E-mail address: jonathan.douxﬁls@fundp.ac.be (J. Douxﬁls).                                Thanks to its predictable pharmacokinetic and pharmacodynamic
    1
      Contributed equally to this work.                                                     proﬁles, monitoring is generally not recommended [12]. However,

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clinical surveillance is recommended throughout the treatment peri-               Innovin® (Siemens Healthcare Diagnostics, Deerﬁeld, IL, USA) and
od in several subgroups of patients [13]. Thus, in patients with severe           Recombiplastin® (Instrumentation Laboratory, Lexington, KY, USA).
renal impairment (creatinine clearance b 30 mL/min) rivaroxaban                      Triniclot PT Excel®, Triniclot PT Excel S®, Neoplastin R®, Neo-
plasma levels may be signiﬁcantly increased that may lead to a mod-               plastin CI Plus® are derived from rabbit brain. Recombiplastin® and
erate increased bleeding risk [14]. The use of rivaroxaban is not                 Innovin® are recombinant human thromboplastin. Triniclot PT
recommended in patients with creatinine clearance b 15 mL/min                     HTF® is derived from cultured human cells. Clotting time was mea-
and is to be used with “caution” in patients with creatinine clearance            sured on STA-R (Diagnostica Stago) for Neoplastin R®, Neoplastin CI
between 15 to 29 mL/min. In addition, Xarelto® is a substrate of P-gp             Plus®, Triniclot PT Excel®, Triniclot PT Excel S® and Triniclot PT
transporter and is partially metabolized by CYP3A4 resulting in some              HTF®; on BCS (Siemens Healthcare Diagnostics) for Innovin® and
clinically relevant drug interactions [15]. Moreover, it should be used           on ACL-TOP (Instrumentation laboratory) for Recombiplastin®.
with caution in cirrhotic patients with hepatic impairment (classi-
ﬁed as Child Pugh B) and is contraindicated in patients with hepatic              Dilute prothrombin time (dPT)
disease associated with a coagulopathy [16]. Therefore, biological
monitoring would be valuable in acute situations such as recurrent                    Thromboplastin reagents were diluted with CaCl2 25 mM to ob-
thrombosis, bleedings, before urgent surgery, in case of bridging                 tain an initial clotting time of approximately 30 sec. The dilutions
and in case of at least two risk factors among the following: drug in-            [one part of reagent/ x parts of CaCl2 solution] were: Innovin® dilut-
teractions with caution, moderate renal impairment and moderate                   ed 1/100; Neoplastin CI Plus® diluted 1/128; NeoplastinR® diluted
hepatic impairment; Monitoring may also be useful in infants, preg-               1/256; Recombiplastin® diluted 1/64 and Triniclot PT Excel S® dilut-
nant women or in extreme body weights, although no relevant data                  ed 1/60.
on drug levels associated with approximate therapeutic and harmful                    One hundred and ﬁfty μL of spiked NPP were incubated during
ranges are currently available [17].                                              120 sec at 37 °C. Thereafter, 150 μL of reagent was added, starting
    The primary aim of the present study is to assess which coagula-              the measurement on KC-10 (Amelung, Germany).
tion assay(s) could be proposed to measure the pharmacodynamic
effects of rivaroxaban and to compare our results with those found                Thrombin generation assay (TGA)
in the literature. Secondly, we also provide laboratory recommenda-
tions for the accurate determination of plasma drug concentration in                  The calibrated automated thrombin generation test (CAT) mea-
patients treated by rivaroxaban as well as a correct interpretation of            surement was performed as follows. Eighty μL of spiked-NPP, and
routine lab tests inﬂuenced by the presence of rivaroxaban.                       20 μL of PPP-Reagent High (20pM of Tissue Factor (TF) and 4 μM of
                                                                                  phospholipids (PL)), PPP-Reagent (5pM of TF and 4 μM of PL) or
Materials and methods                                                             PPP-Reagent LOW (1pM of TF and 4 μM of PL) were mixed in a
                                                                                  96-well microtiter plate (Thermo Immulon 2HB, Thermo Labsystems,
    Rivaroxaban was spiked at increasing concentrations in pooled                 The Netherlands) and were incubated for 5 min at 37 °C. The plasma
citrated normal human platelet poor plasma (PPP) to measure Pro-                  clotting was then triggered by the addition of 20 μL of ﬂuorogenic
thrombin Time (PT), dilute PT (dPT), Prothrombinase-induced                       substrate (Z-Gly-Gly-Arg-AMC HCl)/calcium chloride buffered solu-
Clotting Time (PiCT), Thrombin Generation Assay (TGA), Liquid                     tion at 37 °C. A calibration curve was also performed using 70 μL of
anti-Xa® (LAX) and Biophen Direct Factor-Xa Inhibitor® (DiXaI). Ac-               NPP, 10 μL of PBS, 20 μL of Thrombin Calibrator and 20 μL of
tivated Partial Thromboplastin Time (aPTT), activated clotting time               substrate/calcium chloride-buffered solution at 37 °C. The substrate
(ACT), Thrombin Time (TT), Ecarin Clotting Time (ECT) and Reptilase               hydrolysis was monitored on a microplate ﬂuorometer Fluoroskan As-
Time (RT), Activated Protein C Resistance (APC-R), measurement of                 cent FL® (Thermo Labsystems, The Netherlands) with a 390/460 nm ﬁl-
clotting factors (XII; XI; IX; VIII; VII; V; X; II), Protein-C and free           ter set using the Thrombinoscope software (v 3.0, Thrombinoscope BV).
Protein-S (immunological and clotting method) were also tested
and were described in supplementary material. The results pres-                   Chromogenic anti-Xa assays
ented for each clotting test represent the mean value and standard
deviation of the triplicate.                                                      STA® liquid anti-Xa (LAX) (diagnostica stago)
                                                                                     Thirty μL of spiked-NPP diluted 4-fold in Owren-Koller® were
                                                                                  mixed with 150 μL of chromogenic substrate (CBS 02.44 consisting
Testing solutions of rivaroxaban
                                                                                  of MAPA-Gly-Arg-pNA .HCl) and incubated during 240 sec. Then,
                                                                                  150 μL of bovine FXa pre-warmed at 37 °C were added, starting the
   Rivaroxaban was tested at 7 concentrations ranging from 11 to
                                                                                  measurement. Results are expressed in OD/min and measurements
1090 ng/mL (initial concentrations) in normal pooled plasma (NPP).
                                                                                  were performed on STA-R.
Rivaroxaban solutions were prepared as mentioned in the supple-
mentary material.
                                                                                  Biophen direct Xa inhibitor® (DiXaI) (hyphen biomed)
                                                                                     Two hundred μL of spiked-NPP were diluted 50-fold in Tris-NaCl-
Whole blood and platelet-poor plasma                                              EDTA buffer at pH 7.85 with PEG6000 1% and sodium azide.
                                                                                  Seventy-ﬁve μL of human puriﬁed FXa were mixed with tested plas-
    The protocol for whole blood and platelet-poor plasma is de-                  ma and incubated during 2 min at 37 °C. Seventy-ﬁve μL of, chro-
scribed in the supplementary material.                                            mogenic substrate (CS-11(65) consisting of -D-Arg-Gly-Arg-pNA,
                                                                                  2HCl) pre-warmed at 37 °C were added starting the measurement
Prothrombin time                                                                  on STA-R.

    Fifty μL of spiked NPP were incubated at 37 °C during 240 sec-                Statistical analysis
onds (sec) and mixed with 100 μL of calcium thromboplastin. The
different thromboplastin reagents used were Triniclot PT Excel® (Trin-               Sensitivity and reproducibility of the different assays were com-
ity Biotech, Bray, Ireland), Triniclot PT Excel S® (Trinity Biotech),             pared using GraphPad Prism 5.01® for Windows®.
Triniclot PT HTF® (Trinity Biotech), Neoplastin R® (Diagnostica                      Sensitivity of a particular assay was deﬁned as the ﬁnal concentra-
Stago, Asnieres, France), Neoplastin CI Plus® (Diagnostica Stago),                tion in rivaroxaban needed to double (or halve)* the analytical

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parameter; (2xCT [CT = Clotting Time]; Cmax IC50* [The inhibitor con-                          66 ng/mL for Triniclot PT Excel S®; 73 ng/mL for Recombiplastin®;
centration reducing the Cmax of 50%] and 2 x OD/min* [The concentra-                           84 ng/mL for Neoplastin R®; 135 ng/mL for Neoplastin CI + ®;
tion needed to halve the change in the optical density reported by                             161 ng/mL for Triniclot PT Excel®; 180 ng/mL for Triniclot PT HTF®;
minute]).                                                                                      and 258 ng/mL for Innovin®. Results in terms of reproducibility are
    Reproducibility expressed as CV (coefﬁcient variation = [(stan-                            summarized in Supplementary material: Table 2. The intra- and
dard deviation/mean)*100]) of the triplicate for each concentration                            inter-assay variability was respectively ranging from 2.2% and 1.9%
and each test was determined. The minimum, mean and maximum                                    for Neoplastin R® to 7.7% and 8.4% for Triniclot PT HTF®.
CV was determined for each test and compared between tests.
    For PT, LAX and Biophen DiXaI, the intra- and inter-assays vari-
ability, expressed in mean CV, was also assessed by measuring 10 rep-                          Diluted prothrombin time (dPT)
licates of 5 different concentrations (436; 218; 110; 22 and 0 ng/mL
in initial concentrations). The mean CV represented the sum of the                                 Dilute Prothrombin Time (dPT) showed a concentration-dependent
CV for the ﬁve concentrations divided by 5 (i.e. the number of concen-                         prolongation of clotting time also depending on the reagent (Fig. 2).
trations). For the inter-assay variability, measures were performed                            Two-fold CT was respectively 56 ng/mL for Recombiplastin® diluted
once a day during 10 days with the same lot of reagents.                                       1/64; 99 ng/mL for Neoplastin CI+ ® diluted 1/128; 144 ng/mL for
    The lower limit of quantitation was calculated as follow:                                  Triniclot PT Excel S® and Neoplastin R® diluted 1/256, and 362 ng/mL
[(10*standard deviation of Y0)/ slope] where Y0 was the baseline                               for Innovin® diluted 1/100. Results in terms of reproducibility were
value of the linear regression. The upper limit of quantitation re-                            summarized in Supplementary material: Table 2.
ﬂects the concentration from which results were unreliable (con-
centration above 941 ng/mL in the initial sample were not tested).
                                                                                               Chromogenic anti-Xa assays
For aPTT and PT, the dynamic range was calculated as the mean of
the individual lower and upper limit of quantitation of the different
                                                                                               STA® liquid anti-Xa (LAX)
reagents.
                                                                                                   Liquid anti-Xa showed a concentration dependent decrease of
                                                                                               OD/min (Fig. 3). The relation was linear until 224 ng/mL but may be
Results
                                                                                               correlated by an exponential model until 1090 ng/mL. Half OD/min
                                                                                               was 8 ng/mL and reproducibility (CV %) was 1.0%. The intra- and
Prothrombin time (PT)
                                                                                               inter-assay variability was respectively 1.3% and 1.9%.
    Rivaroxaban showed a concentration-dependent prolongation of
PT (Fig. 1) depending on on the thromboplastin reagent used. The re-                           Biophen direct Xa inhibitor® (DiXaI)
lation was linear for each reagent. Two-fold CT was respectively                                  Biophen DiXaI showed a concentration dependent decrease of
                                                                                               OD/min (Fig. 3). The relation was linear. Concentration of rivar-
                                                                                               oxaban required to halve the initial OD/min was 9 ng/mL and repro-
                                                                                               ducibility was 1.3%. The relation was linear until 545 ng/mL with a
                                                                                               decrease of sensitivity. The intra- and inter-assay variability was re-
                                                                                               spectively 3.4% and 3.9%.


                                                                                               Thrombin generation assay (TGA)

                                                                                                  The Peak and mVRI were the most sensitive CAT parameters with
                                                                                               a high sensitivity (Peak IC50 was 3 ng/mL with PPP-Reagent Low and
                                                                                               PPP-Reagent and was 14 ng/mL with PPP-Reagent High; mVRI IC50
                                                                                               was 1 ng/mL with PPP-Reagent Low and PPP-Reagent and 3 ng/mL
                                                                                               with PPP-Reagent High) and a low variability (CV b 1.0%).




                                                                                               Fig. 2. Inﬂuence of rivaroxaban on dPT: dPT shows a concentration-dependent prolon-
Fig. 1. Inﬂuence of rivaroxaban on PT. PT shows a concentration-dependent prolonga-            gation of clotting time. The sensitivity also depends on the reagent. Recombiplastin® is
tion of clotting time. The sensitivity depends on the reagent. Triniclot PT Excel S® is the    the most sensitive reagent and Innovin® is less affected by rivaroxaban in comparison
most sensitive reagent while Innovin® seems to be the less affected thromboplastin.            with the other thromboplastin. The boxes in blue and red represent the therapeutic
The boxes in blue and red represent the therapeutic range in AF (rivaroxaban 20 mg             range in AF (rivaroxaban 20 mg qd) at Ctrough and Cmax (median; 5th-95th percentile),
qd) at Ctrough and Cmax (median; 5th-95th percentile), respectively.                           respectively.


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                                                                                             patients, excluding those with assumed poor- compliance, renal in-
                                                                                             sufﬁciency and/or an increased bleeding risk. However, bleeding
                                                                                             and other side effects were still encountered at signiﬁcant percent-
                                                                                             ages [17].
                                                                                                 Thus, the opportunity to further improve the efﬁcacy and safety of
                                                                                             new anticoagulants including rivaroxaban by searching for the opti-
                                                                                             mal dose in speciﬁc patients may require laboratory monitoring.
                                                                                             Moreover, such monitoring can be helpful in acute situations such
                                                                                             as recurrent thrombosis, bleedings, before urgent surgery, in case of
                                                                                             bridging, in infants, in pregnant women, in extreme body weight
                                                                                             and in case of at least two risk factors among the following: drug in-
                                                                                             teractions with caution, moderate renal impairment and moderate
                                                                                             hepatic impairment; Point measurement may also be useful in the
                                                                                             management of bleeding.
Fig. 3. Inﬂuence of rivaroxaban on Liquid anti-Xa (LAX) and Biophen DiXaI: LAX shows
a concentration-dependent decrease in OD/min. The relation is linear until 224 ng/mL.        Aim of the study
LAX is the most sensitive assay with a concentration in rivaroxaban needed to halve
OD/min of 8 ng/mL. For Biophen DiXaI, the relation is linear until 545 ng/mL with a
concentration needed to halve OD/min of 9 ng/mL. For concentration higher than                   Several studies have already been performed to suggest which
545 ng/mL, the relation is no longer linear and a higher dilution (initially 50-fold) of     assay could be used to monitor patients on rivaroxaban but only
the sample is needed (data not shown). The boxes in blue and red represent the ther-         some of them compared the different reagents in terms of sensitivity,
apeutic range in AF (rivaroxaban 20 mg qd) at Ctrough and Cmax (median; 5th-95th per-        reproducibility, linearity and/or speciﬁcity [20–22]. Nevertheless, in
centile), respectively.
                                                                                             clinical settings, practical approach is essential and no guidelines
                                                                                             have been provided to perform this measurement.
Activated partial thromboplastin time (aPTT)                                                     The primary objective of the present study is to specify which co-
                                                                                             agulation assays may be recommended to measure the effects of
    aPTT showed a concentration-dependent prolongation of clotting                           rivaroxaban among a large range of tests and reagents (Table 1)
time and also depended on the reagent (Supplementary material:                               and to compare the results with those already published (Table 2).
Fig. 1). Two-fold CT was respectively 208 ng/mL for CKPrest®;                                The secondary objective is to propose recommendations about how
234 ng/mL for Actin FS®; 258 ng/mL for Synthasil®; 375 ng/mL for                             to perform this monitoring in clinical routine practise and how to in-
PTT-A® and 420 ng/mL for Cephascreen®. Results in terms of repro-                            terpret the inﬂuence of rivaroxaban on routinely used laboratory
ducibility were summarized in Supplementary material: Table 2.                               assays. We also propose cut-off associated with a bleeding or throm-
                                                                                             bosis risk based on pharmacokinetic studies but further investigation
Prothrombinase-induced clotting time (PiCT)                                                  in the ﬁeld and conﬁrmation are required.

    PiCT showed a linear regression with 30 sec or 180 sec incubation                        Assessment of the pharmacodynamic effects of rivaroxaban: advantages
(Supplementary material: Fig. 2). Two-fold CT was 185 ng/mL for the                          and drawbacks of different coagulation assays
180 sec incubation methodology and for the 30 sec incubation
methodology 2xCT was different for fast half-life (2 ng/mL) and                                  Prothrombin time is usually used to assess vitamin K antagonist
short half-life (365 ng/mL). Reproducibility (mean CV %) was 0.4%                            therapy using the international normalized ratio (INR) and the inter-
for PiCT 180 sec incubation and 5.6% for PiCT 30 sec incubation.                             national sensitivity index (ISI) speciﬁc to each reagent. Nevertheless,
                                                                                             INR using ISIVKA cannot be used for rivaroxaban. Authors have pro-
Activating clotting time (ACT)                                                               posed to use speciﬁc ISIrivaroxaban showing a reduction of the coefﬁ-
                                                                                             cient of variation between the slopes of the dilution curves and the
   ACT showed a concentration-dependent prolongation of clotting                             ratios of the thromboplastin reagents, but up to now this method re-
time (Supplementary material: Fig. 3). Two-fold CT was 334 ng/mL                             quired further investigations and standardization [23,24]. Thus, PT
and reproducibility (mean CV %) was 17,0%.                                                   showed a concentration dependent prolongation of clotting time with
                                                                                             a linear regression (Fig. 1). Two-fold CT depended on the clotting re-
Fibrinogen assay (clauss method); thrombin time (TT); reptilase time                         agent used (2xCT was ranging from 66 ng/mL to 258 ng/mL in our
(RT) and ecarin clotting time (ECT)                                                          study). The most sensitive reagent in this study was Triniclot PT Excel
                                                                                             S®. Results obtained for PT reagents showed an important variability
   Rivaroxaban had no effect on the Clauss method ﬁbrinogen assay                            between studies in terms of 2xCT. This may be explained by the fact
(Supplementary material: Fig. 4) as well as on TT (Supplementary                             that, in the other studies, results in terms of sensitivity were not
material: Fig. 5), RT (Supplementary material: Fig. 6) and ECT (Sup-                         expressed in ﬁnal concentration (in Table 2 our results are expressed
plementary material: Fig. 7).                                                                in initial concentration in order to allow direct comparison between
                                                                                             studies). By calculating sensitivity using the initial plasma drug concen-
Discussion                                                                                   tration instead of the ﬁnal plasma drug concentration, results were con-
                                                                                             sistent with previous publications. A recent multicenter trial has
    Rivaroxaban (Xarelto®) is an orally, direct FXa inhibitor ap-                            demonstrated that results expressed in rivaroxaban concentration
proved by the EMA [2] and FDA [3] in the prevention of DVT and pul-                          (ng/mL) did not show signiﬁcant difference (P > 0.05) in the
monary embolism in TKR or THR and in stroke prevention in patients                           interlaboratory variations of the PT measurement [25], suggesting
with non-valvular atrial ﬁbrillation. Moreover, it has received the                          that the use of the widely available PT assay, in conjunction with
market authorization in the treatment of acute DVT and prevention                            rivaroxaban calibrators, may be useful for the measurement of
of symptomatic VTE, in Europe only [2–4]. Thanks to its predictable                          peak plasma levels of rivaroxaban. Nevertheless, results were
kinetics, therapeutic monitoring is generally not required. Neverthe-                        obtained from spiked apheresis citrated-pooled plasma originating
less, this statement is debated [18,19]. As clearly highlighted by dif-                      from transfusion blood banks and further experiments in patient's
ferent authors, patients in clinical trials were carefully selected                          plasma should be investigated to know whether the interindividual

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Table 1
Summary of assays for the monitoring of rivaroxaban in plasma. (PT: Prothrombin Time; Biophen DiXaI: Biophen Direct Factor Xa Inhibitor; LAX: Liquid anti-Xa; dPT; dilute Pro-
thrombin Time; TGA: Thrombin Generation Assay; aPTT: activated Partial Thromboplastin Time; PiCT: Prothrombinase-induced Clotting Time; ACT: Activated Clotting Time; TT:
Thrombin Time; ECT: Ecarin Clotting Time).

                                             Useful for              Reliable but requires laboratory        Not recommended
                                             monitoring              experience

                                             PT           Biophen    LAX        dPT           TGA            aPTT         PiCT         ACT   TT              ECT
                                                          DiXaI                               (Peak IC 50)

  Sensitivity (ng/mL)†                       66 to 258    9          8          56 to 362     3 to 14        208 to 420   185          334   Not Inﬂuenced   Slightly Inﬂuenced
  Dynamic range of quantitation (ng/mL) ‡    80 – 1090    29 – 545   13 – 224   141 – 1090    N.D            164 – 1090   N.D          N.D   N.D             N.D
  Reproducibility (%) ††                     0.5 to 1.3   1.3        0.9        1.1 to 1.9    1.0            0.9 to 4.4   0.4 to 5.6   17    N.D             N.D
  Dependence of reagent                      Yes          No         No         Yes           Yes            Yes          No           Yes   No              No
  Linearity of the response                  Yes          Yes        Yes        Yes           Yes            No           No           No    Not Inﬂuenced   Yes
 †
    Sensitivity expressed the concentration needed to double or halve the evaluated parameter (2 x clotting time (CT); ½ x OD/min; Peak IC50).
 ‡
    The lower limit of quantitation was calculated as follow: [(10*standard deviation of Y0)/ slope]. The upper limit of quantitation reﬂects the concentration from which results
were unreliable (concentration above 1090 ng/mL in initial concentration were not tested).
 ††
     Reproducibility was expressed as the coefﬁcient of variation [CV (standard deviation/mean*100)] of the triplicate for each concentration and each test.




variables of PT impact on the results. CoaguCheck XS, a PT test that                             Ecarin clotting time (ECT) was almost insensitive to rivaroxaban.
used a speciﬁc thromboplastin reagent that enables the measure-                              Ecarin converts prothrombin in meizothrombin [30], and rivar-
ment on whole blood was also assessed in a previous study. It                                oxaban, by inhibiting FXa, acts only on the capacity of FXa to gener-
showed a 2xCT of approximately 50 ng/mL as well as a low                                     ate meizothrombin but not on the ecarin activity.
inter-individual variation [22]. Thus, CoaguCheck XS may be one                                  ACT, a bedside test currently used to monitor heparin therapy dur-
good opportunity for monitoring but results have to be expressed                             ing cardiac interventions, showed a linear prolongation of the clotting
in ng/mL.                                                                                    time until 545 ng/mL (Supplementary material: Fig. 3). The sensitiv-
    As suggested previously, dPT may increase the sensitivity by mim-                        ity increases proportionally with the concentration of rivaroxaban.
icking physiological conditions [22]. In this study, dPT was found                           However, 2xCT was 334 ng/mL that is less sensitive than PT, dPT or
slightly more sensitive than PT only for Recombiplastin® (2xCT =                             aPTT (depending on the reagent). Moreover, its low reproducibility
73 vs. 56 ng/mL) and Neoplastin CI + ® (2xCT = 135 vs. 99 ng/mL).                            (mean CV% = 17.0%) is a limiting parameter already described in
However, according to Samama et al., the relation for each dPT re-                           other clinical applications [31,32]. Moreover, the sensitivity towards
agent was also linear (Fig. 2). Reproducibility was lower than PT                            FXa or thrombin inhibition depends on the composition of the re-
test probably due to the manual method (KC-10) used in our study.                            agent [31]. All of these limitations preclude the use of ACT to assess
Base on the same method (e.g. the addition of calcium chloride), an-                         rivaroxaban drug levels.
other proposal for assessing the anticoagulant activity of oral FXa in-                          Thromboeslastography (TEG) was previously assessed [22].
hibitors is to modify a PT assay by adding calcium chloride at a                             Rivaroxaban induced a concentration dependent prolongation of
different concentration (ﬁnal dilution: 1:2,25) and NaCl, as appropri-                       the TEG clotting parameters (R: the time of clot formation in min
ate, to the thromboplastin reagent to increase assay dynamic range                           and K: velocity of ﬁbrin formation in min) without any modiﬁcation
and improve sensitivity but this method has not yet been investigated                        in the amplitude making this test promising to assess the impact of
with rivaroxaban [26].                                                                       rivaroxaban, but further studies are required [22].
    As presented in previous studies [20–22,27,28], aPTT showed a                                In this study, two chromogenic anti-Xa assays were used and
concentration-dependent prolongation of clotting time (Supplemen-                            compared with those already tested in the literature. Liquid
tary material: Fig. 1). This relation is curvilinear suggesting that the                     anti-Xa® (LAX) showed a very high sensitivity with a concentration
afﬁnity decreases for higher rivaroxaban concentrations. As for PT                           of rivaroxaban required to halve OD/min of 8 ng/mL (Fig. 3). This
and dPT, 2xCT depends on the reagent. These results clearly showed                           chromogenic assay is also very reproducible with a mean CV of
that aPTT is less sensitive than PT or dPT as mentioned in earlier pub-                      1.0%. Its use in routine may be valuable to monitor patients on
lications [22,29] but were not in agreement with results obtained by                         rivaroxaban. The relation is described by a one-phase decay equa-
Hillarp et al. [21] who demonstrated that aPTT was generally more                            tion. However, the relation is linear for concentration in rivaroxaban
inﬂuenced by the presence of rivaroxaban than PT, especially with                            in the initial sample b224 ng/mL, suggesting that a more important
Owren method. Thus, one can conclude that PT is preferable to ensure                         dilution for samples presenting an OD/min b0.25 units should be
a quantitation of rivaroxaban due to its linearity in a broad range of                       performed (1/8 instead of 1/4). In addition, one should also keep in
concentrations and its higher sensitivity.                                                   mind that LAX may be inﬂuenced by the presence of heparin and
    At lower concentration of rivaroxaban (b200 ng/mL), there was a                          pentasaccharides (i.e. fondaparinux, idraparinux) and a more specif-
shortening in clotting time using the two-step (180 sec incubation)                          ic test is then required when clinicians will face in unconscious pa-
PiCT (Supplementary material: Fig. 2). This was in agreement with                            tients without information on the nature of the anticoagulant.
previous study [22] and a reduction of incubation time (30 sec) was                              Biophen Direct Factor Xa Inhibitors® (DiXaI) showed, as LAX, a
voluntary performed to avoid this shortening. This may be explained                          high sensitivity (9 ng/mL). One of the strength of this chromogenic
by an interaction between endogenous antithrombin (AT) and                                   assay is the use of Tris-EDTA-NaCl buffer making this test insensitive
rivaroxaban as this artefact was removed using AT-deﬁciency plasma                           to the presence of heparin or fondaparinux [33] and thus highly inter-
[22]. Nevertheless, results in terms of sensitivity were not consistent                      esting in case of switching therapy or with unconscious patients in
with those previously published but the two graphics looked alike                            emergency for example. The relation was linear (Fig. 3). Thanks to
(Supplementary material: Fig. 2) [22]. The explanation was that in                           its speciﬁcity, its high sensitivity and the fact that it covers the thera-
this study we used a two-phase association exponential relation ex-                          peutic range, Biophen DiXaI seems to be the more accurate assay to
pressing the 2xCT in low (b 54 ng/mL) and high (> 54 ng/mL) ﬁnal                             monitor patients on rivaroxaban. Nevertheless, speciﬁc calibration
concentration in rivaroxaban. In conclusion, due to its lack of lineari-                     for other direct FXa inhibitors marketed (or under development)
ty, this test is not useful to measure rivaroxaban.                                          will be required to correctly assess the plasma drug level. Other

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Table 2
Summary of assays performed in the different in-vitro studies: Results show the sensitivity as the expression of the concentration in rivaroxaban in the initial sample needed to
double (or halve) the evaluated coagulation parameter. (LT: Lag Time; TTP: Time to Peak; ETP: Endogenous Thrombin Potential; mVRI: mean Velocity Rate Index).⁎

                                               Perzborn et   Gerotziafas et    Barret    Hillarp et al. 2010   Samama et al. 2010   Asmis et al. 2011 [27]   Detail of this study
                                               al. 2005      al. 2007 [47]     et al.    [21]                  [33,48]
                                               [29]                            2010
                                                                               [20]

    TGA                  PPP-Reagent High      NA            NA                NA        NA                    NA                   NA                       LT: 73 ng/mL
                                                                                                                                                             TTP: 84 ng/mL
                                                                                                                                                             ETP: 767 ng/mL
                                                                                                                                                             Peak: 20 ng/mL
                                                                                                                                                             mVRI: 4 ng/mL
                         PPP-Reagent           NA            LT: 4 ng/ml    NA           NA                    LT : 51 ng/mL        NA                       LT: 80 ng/mL
                                                             TTP : 4 ng/mL                                     TTP : 45 ng/mL                                TTP: 60 ng/mL
                                                             ETP : 15 ng/mL                                    ETP: 305 ng/mL                                ETP: 141 ng/mL
                                                             (Measure                                          Peak: 21 ng/mL                                Peak: 4 ng/mL
                                                             performed on                                      mVRI: 9 ng/mL                                 mVRI: 2 ng/mL
                                                             PRP)
                         PPP-Reagent LOW                                                                                                                     LT: 93 ng/mL
                                                                                                                                                             TTP: 98 ng/mL
                                                                                                                                                             ETP: 98 ng/mL
                                                                                                                                                             Peak: 5 ng/mL
                                                                                                                                                             mVRI: 1 ng/mL

    PT                   Neoplastin CI +®      229 ng/mL     NA                546 ng/   506 ng/mL             300 ng/mL            NA                       405 ng/mL
                                               Reagent is                      mL
                         Neoplastin CI®        not                             580 ng/   NA                    420 ng/mL            NA                       NA
                                               speciﬁed                        mL
                         Innovin®                                              828 ng/   591 ng/mL             700 ng/mL            Results not expressed in 774 ng/mL
                                                                               mL                                                   term of sensitivity
                         Recombiplastin®                                       642 ng/   498 ng/mL             300 ng/mL                                     219 ng/mL
                                                                               mL
                         Thromborel S®                                         NA        885 ng/mL             500 ng/mL            NA                       NA
                         Technoplastin                                         NA        557 ng/mL             NA                   NA                       NA
                         HIS®
                         SPA + ®                                               NA        1375 ng/mL            NA                   NA                       NA
                         Nycotest PT®                                          NA        1300 ng/mL            NA                   NA                       NA
                         PT Owren®                                             NA        891 ng/mL             NA                   NA                       NA
                         Simple Simon PT®                                      NA        871 ng/mL             NA                   NA                       NA
                         Triniclot PT Excel®                                   NA        NA                    450 ng/mL (type of   NA                       483 ng/mL
                         Triniclot PT Excel                                    NA        NA                    Triniclot is not     NA                       198 ng/mL
                         S®                                                                                    speciﬁed)
                         Triniclot PT HTF®                                     NA        NA                                         NA                       540 ng/mL
                         Neoplastin R®                                         NA        NA                    NA                   NA                       252 ng/ml

    aPTT                 Actin FSL®            NA            NA                NA        435 ng/mL             NA                   aPTT were performed to   NA
                         PTT-A®                                                          491 ng/mL             750 ng/mL            show the inﬂuence of     1125 ng/ml
                         aPTT SP IL®                                                     530 ng/mL             NA                   the ingestion of         NA
                         Triniclot aPTT HS®                                              617 ng/mL             NA                   rivaroxaban on           NA
                         aPTT DG®                                                        389 ng/mL             NA                   coagulation test.        NA
                         CKPrest®                                                        NA                    550 ng/mL                                     624 ng/mL
                         PTT-LA®                                                         NA                    650 ng/mL                                     NA
                         Actin FS®                                                       NA                    500 ng/mL                                     702 ng/mL
                         Synthasil®                                                      NA                    NA                                            774 ng/mL
                         Cephascreen®                                                    NA                    NA                                            1260 ng/mL

    dPT                  Recombiplastin®    NA               NA                NA        NA                    NA                   NA                       168 ng/mL
                         1/64
                         Recombiplastin®1/                                                                     450 ng/mL                                     NA
                         32
                         Neoplastin CI® 1/                                                                     250 ng/mL                                     NA
                         32
                         Neoplastin CI +®                                                                      280 ng/mL                                     NA
                         1/32
                         Innovin® 1/64                                                                         700 ng/mL                                     NA
                         Thromborel S® 1/                                                                      200 ng/mL                                     NA
                         64
                         Triniclot 1/                                                                          280 ng/mL                                     NA
                         8 (reagent not
                         speciﬁed)
                         Neoplastin CI +®                                                                      NA                                            297 ng/mL
                         1/128
                         Triniclot PT Excel                                                                    NA                                            432 ng/mL
                         S® 1/30
                         Neoplastin R® 1/                                                                      NA                                            333 ng/mL
                         256
                         Innovin® 1/100                                                                        NA                                            1086 ng/mL




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Table 2 (continued)
                                              Perzborn et   Gerotziafas et    Barret    Hillarp et al. 2010   Samama et al. 2010    Asmis et al. 2011 [27]   Detail of this study
                                              al. 2005      al. 2007 [47]     et al.    [21]                  [33,48]
                                              [29]                            2010
                                                                              [20]

 PiCT®                   Incubation 30 sec    NA            NA                NA        NA                    40 ng/mL                                       Fast 2xCT: 6 ng/mL
                         Incubation 180 sec                                                                   >1000 ng/mL                                    555 ng/mL

 ACT                     NA                   NA            NA                NA        NA                    NA                    418 ng/mL

 TT                      NA                   NA            NA                NA        NA                    NA                    Not inﬂuenced

 RT                      NA                   NA            NA                NA        NA                    NA                    Not inﬂuenced

 Liquid anti-Xa®       NA                     NA            NA                NA        NA                    NA                    352 ng/mL
 Biophen Direct Factor NA                     NA            NA                NA        Sensitivity not       NA                    788 ng/mL
   Xa Inhibitor®                                                                        explored (graph
                                                                                        is not expressed
                                                                                        in ﬁnal
                                                                                        concentration)

 Dilute Russell's Viper NA                    NA            NA                NA        80 ng/mL and          NA                    NA
   Venom Time                                                                           60 ng/mL for
   (dRVVT)                                                                              dRVV Conﬁrm

 Rotachrom LMWH®         NA                   NA            31 ng/mL          NA        Decrease in OD/       NA                    NA
                                                                                        min

 Stachrom LMWH®          NA                   NA            NA                NA        Decrease in OD/       NA                    NA
                                                                                        min

 Biophen Heparin 6®      NA                   NA            NA                NA        NA                    They just speciﬁed    NA
                                                                                                              that this test give
                                                                                                              the same
                                                                                                              [rivaroxaban] than
                                                                                                              HPLC/MS-MS

 Fibrinogen (Clauss      STA-Fibrinogen®      NA            NA                NA        NA                                                                   Not inﬂuenced
   method)               FibriPrest®                                                    Almost                                                               NA
                         Fibrinogen C®                                                  unaffected                                                           NA
                         Dade Thrombin®                                                                                                                      NA
                         Multiﬁbren U®                                                                                                                       NA

 Antithrombin            Berichrom ATIII®     NA            NA                NA        Not inﬂuenced         NA                    NA                       NA
                         Stachrom ATII®                                                 Not inﬂuenced                                                        Not Inﬂuenced
                         Coamatic LR®                                                   Inﬂuenced                                                            Inﬂuenced

 APC Resistance assay    Coatest APC Resis-   NA            NA                NA        Inﬂuenced             NA                    NA                       Inﬂuenced
                         tance V®
                         Pefakit APC resis-                                             Not inﬂuenced
                         tance Factor V
                         Leiden®

 HepTest (30 sec incubation)                  NA            NA                NA        NA                    50 ng/mL              NA                       NA

 Thromboelastography NA                       NcA           NA                NA        Modiﬁcation of        NA                    NA
                                                                                        clotting
                                                                                        parameters (R
                                                                                        and K)
 ⁎ Results in term of sensitivity are expressed in ﬁnal concentration to allow between test comparisons.



chromogenic assays have already been performed also showing good                             the same tendency: Peak and mVRI are the most inﬂuenced parame-
sensitivity but the requirement of calibrator sets is mandatory as                           ters. Indeed, in our study, TGA shows a Peak IC50 of 3 ng/mL with
mentioned in a previous study [34]. In conclusion, anti-Xa chromo-                           PPP-Reagent and a 2 x Lag Time (LT) of 55 ng/mL. PPP-Reagent
genic assays are preferable to PT assays to perform monitoring of                            Low is too sensitive. Thus, we recommend using PPP-Reagent or
rivaroxaban due to the higher sensitivity, the ﬂexibility, the lower                         PPP-Reagent High to assess rivaroxaban plasma samples with the
intra- and inter-assay variability, the similar inter-laboratory preci-                      CAT analyser. These results show that TGA might be an accurate
sion [20,35] and, for Biophen DiXaI, its speciﬁcity against other                            assay to assess rivaroxaban but in clinical practise, the turnaround
antithrombin-dependent inhibitors [33]. Nevertheless, anti-Xa chro-                          time, the interindividual variability and the lack of standardisation
mogenic assays are not widely available and their use could be difﬁ-                         will be limitations [37].
cult in emergency situations.
    The TGA gives more information than traditional coagulation as-                          Interference of rivaroxaban on haemostasis diagnostic tests
says (chronometric or chromogenic) [36]. Rivaroxaban, by its mode
of action, acts on the ampliﬁcation phase of the coagulation process                            In the case of the exploration of a haemorrhagic event, speciﬁc
as showed by its TGA proﬁle (Fig. 4). Between study's results showed                         tests such as reptilase time (RT), ﬁbrinogen (Clauss and PT-derived

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method (dFib)), TT and clotting factor activity may be used. In case of                     our study, using STA-Fibrinogen® (Diagnostica Stago) rivaroxaban
thrombophilia, an activated protein C (APC) resistance, AT, protein C,                      almost did not affect the rate of ﬁbrinogen, except for higher concen-
protein S and clotting factor assays may be required and thus, it is of                     tration (> 545 ng/mL) where a decrease of approximately 10% in the
particular importance for the clinician to have information about                           rate of ﬁbrinogen was noted as mentioned by a previous study [21].
how these tests may be inﬂuenced by rivaroxaban.                                            The dFib assay is also widely used and Mani et al. stated that the ef-
   Further tests were performed to evaluate the inﬂuence of                                 fect of rivaroxaban on dFib varies signiﬁcantly depending on the PT
rivaroxaban on the rate of ﬁbrinogen, using the Clauss method. In                           reagent used [38]. Logically, neither RT nor TT was inﬂuenced by
                                                                                            rivaroxaban. The inﬂuence on AT was evaluated in a previous study
                                                                                            [21] and showed that the choice of AT assay is of importance to cor-
                                                                                            rectly evaluate the rate of AT. Indeed, as mentioned by Khor et al. [39]
                                                                                            AT deﬁciency may be measured by either FXa-based assay or by
                                                                                            thrombin-based assay. Berichrom ATIII® and Stachrom ATIII®, two
                                                                                            thrombin-based AT assays were not inﬂuenced by the presence of
                                                                                            rivaroxaban in comparison with Coamatic LR® based on FXa (in-
                                                                                            crease of 0.09 IU/mL per 100 ng/mL rivaroxaban) investigated in a
                                                                                            previous study [21] and conﬁrmed by our personal unpublished data.
                                                                                                The APC resistance assay was also investigated and the inﬂuence
                                                                                            was also dependent of the type of assay. Coatest APC Resistance V®
                                                                                            and the HemosIL APC Resistance V®, two aPTT-based assay, are
                                                                                            inﬂuenced by rivaroxaban while Pefakit APC resistance Factor V
                                                                                            Leiden® is a speciﬁc test using Russell Viper Venom from Daboia
                                                                                            Russelli to activate prothrombinase complex showing no interfer-
                                                                                            ence with rivaroxaban [21]. In case of thrombophilia testing,
                                                                                            rivaroxaban also interfere with the one-stage and chromogenic fac-
                                                                                            tor VIII:C assays [40] but do not inﬂuence the Coamatic® Protein-C
                                                                                            assay. The measurement of free Protein-S using latex ligand immunoas-
                                                                                            say (Hemosil® Free Protein S) was not inﬂuenced by rivaroxaban (Sup-
                                                                                            plementary material: Table 3) in comparison with the chronometric
                                                                                            method (Staclot® Protein S) where an over-estimation of approxi-
                                                                                            mately 15% per 100 ng/mL of rivaroxaban was found (Supplemen-
                                                                                            tary material: Table 3). In addition, a study showed that the presence
                                                                                            of rivaroxaban in plasma samples at pharmacological concentrations
                                                                                            (±250 ng/mL) can change the results of lupus anticoagulant (LAC)
                                                                                            determinations as measured with the ofﬁcially recommended assays
                                                                                            for the detection of LAC: the aPTT and the dRVVT [41]. Therefore the
                                                                                            use of Taipan snake venom time and Ecarin clotting time are useful to
                                                                                            determine the presence of LAC in patients treated by rivaroxaban
                                                                                            [41]. In addition, clinically relevant concentrations of rivaroxaban,
                                                                                            interfere with PT- and aPTT- based assays for the measurement of
                                                                                            clotting factor activity in plasma [42]. These results are conﬁrmed
                                                                                            by our data (Supplementary material: Table 3) but in our study
                                                                                            there is a lower inﬂuence of the presence of rivaroxaban for the fac-
                                                                                            tors in the extrinsic pathway. This may be explained by the fact that
                                                                                            the reagent used in this study (Innovin®) is less sensitive to
                                                                                            rivaroxaban than Thomborel S® which was used in a previous
                                                                                            study [22,42]. Nevertheless, when higher dilution of the plasma sam-
                                                                                            ple is performed a normalisation of the factor activity may be ob-
                                                                                            served. Thus we recommend to perform a wash out period of at
                                                                                            least 24 hours (preferred 48 hours) before testing, to use the less
                                                                                            sensitive PT- and aPTT-reagents and to increase the sample dilution
                                                                                            for clotting factor assays.

                                                                                            Delay between the drug intake and the blood sampling

                                                                                                Another point to consider is the delay between the last drug in-
                                                                                            take and the time of blood collection since assays are inﬂuenced by
                                                                                            rivaroxaban plasma concentration that depends on the pharmacoki-
                                                                                            netic properties [38]. Indeed, Cmax is reached after 2 to 4 hours [11]
                                                                                            and it seems to be preferable to collect sample at Ctrough to avoid mis-
                                                                                            interpretation due to a prolonged or shortened delay in the absorp-
                                                                                            tion phase where the variability in concentration is higher.
Fig. 4. Inﬂuence of rivaroxaban on Calibrated Automated Thrombogram (CAT) using             Nevertheless, Ctrough is inappropriate to evaluate a lack of efﬁcacy
different inductors. The most sensitive parameters are the mVRI and the Peak whatev-        in case of recurrent thrombosis with PT reagents due to lower sensi-
er the reagent that is used. PPP-Reagent Low is too sensitive and for higher concentra-
tion in rivaroxaban, the curve may be confounded with background noise. Thus,
                                                                                            tivity and thus, more sensitive assays like anti-FXa chromogenic as-
PPP-Reagent and PPP-Reagent High are more suitable to evaluate CAT parameters of            says should be used. However, in case of bleedings, Ctrough could be
rivaroxaban.                                                                                assessed with PT reagents since drug levels are higher in this

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Table 3
Baseline, mean or median Ctrough and Cmax, and cut-offs associated with a risk of bleeding or with sub-therapeutic level for PT (Recombiplastin®, Neoplastin CI + ®, Neoplastin R®,
Innovin®, Triniclot PT HTF®, Triniclot PT Excel®, Triniclot PT Excel S®), Biophen Direct FactorXa Inhibitor (DiXaI) and Liquid Anti-Xa (LAX) in the orthopaedic indication (A) and in
AF (B). The results are expressed in seconds and/or ratio of the clotting time of a NPP spiked with rivaroxaban divided by the clotting time of NPP without spiking. (NPP: Normal
Pooled Plasma; AF: Atrial Fibrillation; N.D.: Not Determined).

  A. In Major Orthopaedic Surgery: rivaroxaban 10 mg qd.

  Reagent                    Baseline time     Clotting time          Clotting time          Clotting time           Clotting time        Clotting time         Clotting time
                                               corresponding to       corresponding to       corresponding to        corresponding to     corresponding to      corresponding to
                                               a sub-therapeutic      median Ctrough         a risk of bleedings     a sub-therapeutic    median Cmax           a risk of bleedings
                                               level at Ctrough       (i.e 9 ng/mL)          at Ctrough              level at Cmax        (i.e 125 ng/mL)       at Cmax
                                               (i.e 1 ng/mL) †                               (i.e 38 ng/mL) ‡        (i.e 91 ng/mL) †                           (i.e 196 ng/mL) ‡

                             Sec ± SD          Sec          Ratio     Sec          Ratio     Sec          Ratio      Sec         Ratio    Sec         Ratio     Sec          Ratio

  Recombiplastin®            12.1 ± 0.2        12.2         1.01      12.6        1.04      14.2         1.17      17.1        1.42       19.1        1.58      22.9         1.89
  Neoplastin CI®             15.7 ± 0.5        15.8         1.00      16.1        1.02      17.2         1.09      19.3        1.23       20.6        1.31      23.3         1.48
  Neoplastin R®              15.1 ± 0.4        15.1         1.00      15.4        1.02      16.5         1.10      18.6        1.24       19.9        1.32      22.7         1.50
  Innovin®                   12.1 ± 0.1        10.4         1.00      10.5        1.01      10.9         1.05      10.7        1.12       12.1        1.16      13.1         1.25
  Triniclot PT HTF®          14.3 ± 0.2        14.3         1.00      14.5        1.02      15.2         1.07      16.7        1.17       17.5        1.23      19.4         1.36
  Triniclot PT Excel®        12.5 ± 0.2        12.5         1.00      12.7        1.02      13.5         1.08      14.9        1.19       15.7        1.26      17.5         1.40
  Triniclot PT Excel S®      16.2 ± 0.7        16.3         1.01      16.9        1.05      19.2         1.19      23.6        1.46       26.3        1.63      32.1         1.98
                             OD/min ± SD       OD/min       Ratio     OD/min      Ratio     OD/min       Ratio     OD/min      Ratio      OD/min      Ratio     OD/min       Ratio
  Biophen DiXaI®             2.543 ± 0.009     2.539        1.00      2.514       0.99      2.423        0.95      2.252       0.89       2.147       0.84      1.922        0.76
  LAX®                       1.013 ± 0.012     1.007        0.99      0.970       0.96      0.846        0.83      0.654       0.65       0.553       0.55      0.399        0.39
  †
    Sub-therapeutic level in the orthopaedic indication is deﬁned as the lower 5th percentile at Ctrough and Cmax.
  ‡
    Plasmatic rate in the orthopaedic indication associated with a risk of bleeding is deﬁned as the upper 95th percentile at Ctrough and Cmax.

  B. In Atrial Fibrillation or acute deep vein thrombosis: rivaroxaban 20 mg qd.

  Reagent                    Baseline time     Clotting time          Clotting time          Clotting time           Clotting time        Clotting time         Clotting time
                                               corresponding to       corresponding to       corresponding to        corresponding to     corresponding to      corresponding to
                                               a sub-therapeutic      mean Ctrough           a risk of bleedings     a sub-therapeutic    mean Cmax             a risk of bleedings
                                               level at Ctrough       (i.e 32 ng/mL)         at Ctrough              level at Cmax        (i.e 290 ng/mL)       at Cmax
                                               (i.e 5 ng/mL) †                               (i.e 155 ng/mL) ‡       (i.e 177 ng/mL) †                          (i.e 409 ng/mL) ‡

                             Sec ± SD          Sec          Ratio     Sec          Ratio     Sec          Ratio      Sec         Ratio    Sec         Ratio     Sec          Ratio

  Recombiplastin®            12.1 ± 0.2        12.4         1.02      13.9         1.15      20,7         1,71       21,9        1,81     28.1        2.32      34,7         2,87
  Neoplastin CI + ®          15.7 ± 0.5        15.9         1.01      17.0         1.08      21,8         1,38       22,6        1,44     27          1.72      31,6         2,01
  Neoplastin R®              15.1 ± 0.4        15.4         1.02      17.0         1.13      24,3         1,61       25,6        1,70     32.4        2.15      39,5         2,62
  Innovin®                   12.1 ± 0.1        10.5         1.01      10.9         1.04      12,5         1,20       12,8        1,23     14.3        1.38      15,9         1,53
  Triniclot PT HTF®          14.3 ± 0.2        14.4         1.01      15.1         1.06      18,3         1,29       18,9        1,33     21.9        1.54      25,0         1,76
  Triniclot PT Excel®        12.5 ± 0.2        12.6         1.01      13.3         1.07      16,5         1,32       17,1        1,37     20.0        1.60      23,1         1,84
  Triniclot PT Excel S®      16.2 ± 0.7        16.6         1.03      18.8         1.16      28,8         1,78       30,6        1,89     39.8        2.46      49,4         3,06
                             OD/min ± SD       OD/min       Ratio     OD/min       Ratio     OD/min       Ratio      OD/min      Ratio    OD/min      Ratio     OD/min       Ratio
  Biophen DiXaI®             2.543 ± 0.009     2.527        0.99      2.441        0.96      2.050        0.81       1.980       0.78     1.621       0.64      1.243        0.49
  LAX®                       1.013 ± 0.012     0.989        0.98      0.869        0.86      0.483        0.48       0,435       0.43     0.256       0.25      0.149        0.15
 †
     Sub-therapeutic level is deﬁned as the lower 5th percentile at Ctrough and Cmax.
 ‡
     Plasmatic rate associated with a risk of bleeding is deﬁned as the upper 95th percentile at Ctrough and Cmax.




situation. Thus, different sampling seems to be mandatory to have an                          PT is the weak sensitivity in comparison with chromogenic assays
efﬁcient estimation of drug exposure. In addition, the marketing au-                          and some pre-analytical variables such as inappropriate proportion
thorization holder should publish all relevant data on drug levels (i.e.                      between blood and anticoagulant or storage that inﬂuence the re-
pharmacokinetic curve based on the time of administration) so that                            sults [43,44]. Nevertheless, the intra-assay variability was b than
it becomes clear what the approximate therapeutic ranges of labora-                           10% and the inter-assay variability was b than 15% whatever the re-
tory tests outcome are [17].                                                                  agent used in this study. Chromogenic anti-Xa assays are preferable
                                                                                              because they are less sensitive than PT to sample collection condi-
Recommendation for an accurate monitoring of patients on rivaroxaban                          tions and variations in the amount of intrinsic pathway clotting fac-
                                                                                              tors among patients [20]. In addition, a recent study showed that
   As speciﬁc cut-offs associated with a risk of bleeding are currently                       anti-factor Xa chromogenic assay using rivaroxaban and controls, is
not available, we have used plasmatic range (5th-95th percentile) of                          suitable for the measurement of a wide range of rivaroxaban plasma
the different pharmacokinetic studies as cut-offs. In a simulated AF                          concentration [35]. Moreover, Biophen DiXaI appears to be insensi-
population, rivaroxaban given 20 mg qd gave a mean Cmax after 2 –                             tive to the presence of antithrombin-dependent factor Xa inhibitor
4 h of 290 ng/mL (5th – 95th percentile ≈ 177 – 409 ng/mL) and a                              (i.e: fondaparinux and LMWH) [33]. Nevertheless, as PT is less ex-
mean Ctrough after 24 h of 32 ng/mL (5th – 95th percentile ≈ 5 –                              pensive than chromogenic assays, we recommend performing cali-
155 ng/mL) [11]. In patients undergoing total hip replacement                                 brated PT as a screening test and if value exceeds speciﬁc cut-offs,
receiving Xarelto® 10 mg qd, median Cmax reaches 125 ng/mL (5th –                             calibrated chromogenic anti-Xa assays should be performed.
95th percentile: 91 – 196 ng/mL) and median Ctrough is 9 ng/mL (5th –
95th percentile 1 – 38 ng/mL) [10]. Expected results in time or in                            Limitation of the study
OD/min were presented for PT with the different reagents, for LAX
and for Biophen DiXaI (Table 3). Sensitivity of PT is dependent on                               One limitation of this study is the fact that we used spiked plasma
the reagent; therefore the use of PT for the monitoring of rivar-                             and that the study is mono-centric. These results should therefore be
oxaban requires a calibration for each lot on each instrument and                             validated in patients receiving Xarelto®. Moreover, it is currently
in each laboratory to deﬁne local cut-off values. One limitation of                           unknown how coagulation assays are predictive for the bleeding

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